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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN


JOSEPH SURMAN,

            Plaintiff,                   Hon. Richard Alan ENSLEN

vs.                                      Case No. 1:06 CV 0312

JANE BARAGAR, CHERYL L                   PLAINTIFF’S SUPPO RTIN G
                                         BRIEF IN OPPOSITION TO
                                         DEFENDANT CHERYL L.
                                         STERLING’S MOTION FOR
                                         JUDGMENT      ON    THE
                                         PLEADINGS

STERLING, and KATHY PALKA,
           Defendants.

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                              STATEMENT OF FACTS

      Plaintiff will furnish all facts relevant to the legal issues before this Court in

the Analysis section below.



                                     ANALYSIS

A.    Rule 12(b)(6) Standard

      Defendant Cheryl L. Sterling’s motion identifies and relies on Rule 12(b)(6)

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of the Federal Rules of Civil Procedure - failure to state a claim upon which relief

can be granted – as the authority of her underlying motion. This Court has noted

the following comprehensive set of applicable rules that this Court employs in

reviewing a Rule 12(b)(6) motion:

       A motion to dismiss for failure to state a claim upon which relief may be
       granted tests the sufficiency of the pleadings. Rule 12(b)(6); see Miller v.
       Currie, 50 F.3d 373, 375 (6th Cir. 1995). Under Rule 12(b)(6), a complaint
       may be dismissed for failure to state a claim if ‘it appears beyond doubt
       that the plaintiff can prove no set of facts in support of his claim which
       would entitle him to relief.’ Conley v. Conley v. Gibson, 355 U.S. 41, 45-
       46 (1957); Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). In
       reviewing such a motion, ‘[t]he complaint must be construed in the light
       most favorable to the plaintiff, and all well-pleaded facts must be accepted
       as true.’ Morgan v. Church’s Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987)
       (citing Scheuer v. Rhodes, 416 U.S. 232, 235 (1974)). While it is liberal,
       this standard of review does require more than the bare assertion of legal
       conclusions. Allard v. Weitzman (In re DeLorean Motor Co.), 991 F.2d
       1236, 1240 (6th Cir. 1993). A complaint must contain either direct or
       inferential allegations with respect to all the material elements necessary
       to sustain a recovery under some viable legal theory. Id.; see also
       Morgan v. Church’s Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987) (legal
       conclusions and unwarranted factual inferences are not accepted as true
       under Rule 12(b)(6) review); Ana Leon T. v. Federal Reserve Bank, 823
       F.2d 928, 930 (6th Cir. 1987) ("Allegations must be more than mere
       conclusions, or they will not be sufficient to state a civil rights claim.").

Organic Chemicals Site PRP Group v. Total Petroleum, Inc., 6 F.Supp.2d 660,

662 (1998). As will be elaborated upon below, under this standard, Defendant

Sterling’s motion fails to show that dismissal is warranted.

B.     42 USC ß1983

Applicable Law.

a.     Stating A Claim for Relief Under 42 USC §1983.

       It is well established that “[a] [42 USC] §1983 claim must embody at least

two elements: 1) the deprivation of a right secured by the Constitution or laws of

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the United States; and 2) the deprivation was caused by a person acting under

color of state law.” Simescu v. Emmett County Department of Social Services,

942 F.2d 372 (6th Cir. 1991), citing Flagg Brothers, Inc. v. Brooks, 436 U.S. 149,

155 (1978) and Nishiyama v. Dickinson County, Tennessee, 814 F.2d 277, 279

(6th Cir. 1987).

       This jurisdiction acknowledges that the U.S. Supreme Court also

recognizes “the joint action” test as an analytical tool to determine “whether the

challenged conduct may be fairly attributable to the state in order to hold the

defendants liable under Section 1983.” See specifically Canter v Hardy, 188

F.Supp.2d 773, 795 (E.D. Mich. 2002), citing Dennis v. Sparks, 449 U.S. 24, 27

(1980) and Adickes v. S.H. Kress & Co., 398 U.S. 144, 152 (1970); see also

Tahfs v. Proctor, 316 F.3d 584, 590-591 (6th Cir. 2003), citing Adickes, supra, at

152 and Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982). Plaintiff

submits that a close review of Sparks, supra, is instructive to the allegations

raised by Plaintiff:

       [T]o act “under color of” state law for §1983 purposes does not require that
       the defendant be an officer of the State. It is enough that he is a willful
       participant in joint action with the State or its agents. Private persons,
       jointly engaged with state officials in the challenged action, are acting see
       “under color” of law for purposes of §1983 actions. Adickes v. S.H. Kress
       & Co, 398 U.S. 144, 152 (1970); United States v. Price, 383 U.S. 787, 794
       (1966). Of course, merely resorting to the courts and being on the winning
       side of a lawsuit does not make a party a co-conspirator or a joint actor
       with the judge. But here the allegations were that an official act of the
       defendant judge was the product of a corrupt conspiracy involving bribery
       of the judge. Under these allegations, the private parties conspiring with
       the judge were acting under color of state law; and it is of no consequence
       in this respect that the judge himself is immune from damages liability.
       Immunity does not change the character of the judge's action or that of his
       co-conspirators. Indeed, his immunity is dependent on the challenged

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       conduct being an official judicial act within his statutory jurisdiction, broadly
       construed. Stump v. Sparkman, 435 U.S. 349, 356 (1978); Bradley v.
       Fisher, supra at 352, 357. Private parties who corruptly conspire with a
       judge in connection with such conduct are thus acting under color of state
       law within the meaning of ß 1983 as it has been construed in our prior
       cases. The complaint in this case was not defective for failure to allege
       that the private defendants were acting under color of state law, and the
       Court of Appeals was correct in rejecting its prior case authority to the
       contrary.

Dennis v Sparks, 449 U.S. 24, 28-29 (1980) (internal footnotes omitted).

       Moreover, a §1983 action may be maintained under a joint action theory

where it is alleged that the private defendants conspired with only one state

actor, a state judge who was not party to the proceedings and otherwise enjoyed

absolute immunity. See Ballard v. Wall, 413 F.3d 510, 519 (5th Cir. 2005).

b.     Pleading Requirement – Joint Action Theory.

       The Sixth Circuit has held that the pleading requirement set forth by Fed.

R. Civ. P. 8(a) is applicable to §1983 claims based on joint action; therefore, a

heightened pleading requirement is not triggered when joint action is alleged.

See Tahfs v. Proctor, 316 F.3d 584, 591-592 (6th Cir. 2003). In Proctor, supra,

the Court was expressly concerned with the sufficiency of the allegations in a

complaint based on 42 USC §1983 that alleged that two private actors had acted

in concert with some unidentified circuit court staff in the issuance of a personal

protection order. Id. at 588. Warning that general allegations of corruption are

insufficient to meet the liberal standard of Rule 8(a) of the Federal Rules of Civil

Procedure, the Court in Proctor, supra, rendered these - while fact-specific to

Proctor - instructive observations summarized below:



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            The private-actor defendants must have sought the assistance of
            the state court in bad faith, with an improper purpose, or with the
            knowledge that the urged and anticipated court
            involvement/participation, e.g., issuance of “an ex parte restraining
            order” as sought by the private-actor defendants, would be
            unconstitutional. Id. at 591, citing Louisville Area Inter-Faith Comm
            for United Farm Workers v Nottingham Liquors, Ltd, 542 F.2d 652
            (6th Cir. 1976).

            The plaintiff’s allegation of corruption is insufficient to meet the Rule
            8(a) standard where the plaintiff is unable to identify the circuit court
            staff members who allegedly acted in concert with the defendants
            and where the plaintiff is not alleging that the trial judge who issued
            the restraining order conspired with the defendants. Id. at 592.

            It is unlikely that a complaint that fails to identify and name the
            conspiring state officers can be sufficiently rectified through
            additional facts where the plaintiff is challenging outcomes (or
            adverse court rulings) as opposed to challenging behavior. Id.
            (emphasis in original).




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c.     Fundamental Federal Liberty Interest.

       It is well established in our society and nation that parents’ prerogative to

make decisions regarding the care and custody of their own children is a

fundamental liberty interest protected under the Due Process Clause of the

Fourteenth Amendment, U.S. Const. Amendment XIV. Troxel v. Granville, 530

U.S. 57, 65 (2000). In fact, the Supreme Court has stressed that the Due

Process Clause “also includes a substantive component that ‘provides

heightened protection against government interference with certain fundamental

rights and liberty interests.’” Id. (emphasis added), quoting Washington v.

Glucksberg, 521 U.S. 702, 720 (1997); and citing Reno v. Flores, 507 U.S. 292,

301-302 (1993). The Troxel Court detailed its historically consistent recognition

of this fundamental liberty interest:

       The liberty interest at issue in this case-the interest of parents in the care,
       custody, and control of their children-is perhaps the oldest of the
       fundamental liberty interests recognized by this Court. More than 75
       years ago, in Meyer v. Nebraska, 262 U.S. 390, 399 (1923), we held that
       the ‘liberty’ protected by the Due Process Clause includes the right of
       parents to ‘establish a home and bring up children’ and ‘to control the
       education of their own.’ Two years later, in Pierce v. Society of Sisters,
       268 U.S. 534-535 (1925), we again held that the ‘liberty of parents and
       guardians’ includes the right ‘to direct the upbringing and education of
       children under their control.’ We explained in Pierce that ‘[t]he child is not
       the mere creature of the State; those who nurture him and direct his
       destiny have the right, coupled with the high duty, to recognize and
       prepare him for additional obligations.’ Id. at 535. We returned to the
       subject in Prince v. Massachusetts, 321 U.S. 158 (1944), and again
       confirmed that there is a constitutional dimension to the right of parents to
       direct the upbringing of their children. ‘It is cardinal with us that the
       custody, care and nurture of the child reside first in the parents, whose
       primary function and freedom include preparation for obligations the state
       can neither supply nor hinder.” Id. at 166. In subsequent cases also, we
       have recognized the fundamental right of parents to make decisions
       concerning the care, custody, and control of their children. See, e.g.

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       Stanley v. Illiniois, 405 U.S. 645, 651 (1972) (‘It is plain that the interest of
       a parent in the companionship, care, custody, and management of his or
       her children ‘come[s] to this Court with a momentum for respect lacking
       when appeal is made to liberties which derive merely from shifting
       economic arrangements’” (citation omitted)); Wisconsin v. Yoder, 406 U.S.
       205, 232 (1972) (‘The history and culture of Western civilization reflect a
       strong tradition of parental concern for the nurture and upbringing of their
       children. This primary role of the parents in the upbringing of their children
       is now established beyond debate as an enduring American tradition’);
       Quilloin v. Walcott, 434 U.S. 246, 255 (1978) (‘We have recognized on
       numerous occasions that the relationship between parent and child is
       constitutionally protected’); Parham v. J.R., 442 U.S. 584, 602 (1979) (
       ‘Our jurisprudence historically has reflected Western civilization concepts
       of the family as a unit with broad parental authority over minor children.
       Our cases have consistently followed that course’); Santosky v. Kramer,
       455 U.S. 745, 753 (1982) (discussing ‘[t]he fundamental liberty interest of
       natural parents in the care, custody, and management of their child’);
       Glucksberg, supra, at 720 (‘In a long line of cases, we have held that, in
       addition to the specific freedoms protected by the Bill of Rights, the ‘liberty’
       specially protected by the Due Process Clause includes the righ[t] ___ to
       direct the education and upbringing of one's children’ (citing Meyer and
       Pierce)).


Id. at 65-66.

       In the same vein as Troxel and pertinent to the present matter before this

Court, the Tenth Circuit has held that a parent’s right to determine and control his

or her child’s medical care and treatment also falls within the same sphere of

protected liberty ensured by the Due Process Clause of the Fourteenth

Amendment. Dubbs v. Head Start, Inc., 336 F.3d 1194, 1203 (10th Cir. 2003),

citing Cruzan v. Director, Missouri Department of Health, 497 U.S. 261, 278

(1990) and Troxel, supra.

Discussion.

       At the outset, Plaintiff submits that his Complaint sufficiently alleges state

actorship by way of concerted actions between at least one state official and the

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named private Defendants herein. Specifically, the Complaint states that

Newaygo County Circuit Court Judge Graydon W. Dimkoff of the Family Division

was a state official and state actor at all times pertinent to the present action

before this Court (Complaint at ¶113). Moreover, Plaintiff’s pleading specifically

alleges that Judge Dimkoff acted in concert with the named Defendants to

deprive Plaintiff of his civil and constitutional rights:

               Dimkoff, J. is a circuit judge for Newaygo County in the State of
               Michigan and as such, he is a state actor and a co-actor with
               Defendant Baragar, Defendant Sterling and Defendant Palka in the
               violation of Plaintiff’s civil and constitutional rights.

(Complaint at ¶113). The Complaint further alleges that the conspiracy revolved

around the circuit court’s establishment of the legal fiction (under Michigan law)

of “expanded parenting time” that resulted in the deprivation of fundamental and

important federal rights to Plaintiff (Complaint at ¶134). Having provided general

notice of the specific theory of liability for its ß1983 claim (i.e., joint action theory),

Plaintiff’s Complaint states with specificity the concerted action between Judge

Dimkoff and the named defendants herein.

       As the Complaint makes plain, seeking the issuance of the August 9,

2005, ex parte order for temporary custody (masquerading as “expanded

parenting time”) was the first of a number of chicaneries implemented by

Defendant Baragar and Defendant Sterling for the purposes of taking away

custody of Nick and Emily from Plaintiff (Complaint at ¶¶ 27-29). To further their

scheme and common purpose of depriving Plaintiff of physical custody over his

two minor children, Defendants Baragar and Sterling enlisted the services of a

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limited licensed psychologist, Defendant Palka. Moreover, Judge Dimkoff

became instrumental in furtherance of the named Defendants’ goal to maintain

and continue the legal fiction of “expanded parenting time”, bestowed onto

Defendant Baragar in derogation of Michigan’s child custody laws by Judge

Dimkoff. In active furtherance of Defendants’ goal, Judge Dimkoff acted as

follows, as previously pled with specificity:

       On August 9, 2005, Defendant Sterling, as attorney for Defendant
       Baragar, sought the issuance of an ex parte order from Judge Dimkoff on
       the strength of a CPS Report that Michigan law required to remain
       confidential and prohibited from publishing or furnishing to third parties
       (Complaint at ¶¶117-118). Judge Dimkoff then issued an ex parte order
       robbing Plaintiff of his custodial rights to Nick and Emily and awarding
       Defendant Baragar “expanded parenting time”, which represents a legal
       fiction in Michigan because it circumvents the strict requirements
       Michigan’s Child Custody Act of 1970.

       On the same day that Judge Dimkoff effectuated the ex parte change of
       custody in Defendant Baragar’s favor, i.e., August 9, 2005, Defendant
       Sterling also personally submitted to Judge Dimkoff Defendant’s Baragar’s
       motion for an order of show cause against Plaintiff and noticed the hearing
       for 9:00 a.m. on the very next day, to wit, August 10, 2005. Even though
       Defendant Sterling, on Defendant Baragar’s behalf, had only received her
       sought ex parte order on August 9, 2005, Defendant Baragar’s motion for
       an order to show cause sought to determine on the same day why Plaintiff
       should not be held in contempt of the circuit court family division for failure
       to turn over the children to Defendant Baragar by 12:40 p.m. on August 9,
       2005. (Complaint at ¶¶31, 64).

       Later in the afternoon on August 9, 2005, Judge Dimkoff executed the
       show cause order at 2:50 p.m. on behalf of Defendant Baragar and kept
       as unchanged Defendant Sterling’s noticed hearing date and time of
       August 10, 2005, at 9:00 a.m.! (Complaint at ¶¶64, 98)

       At 9:23 a.m. on August 10, 2005, Judge Dimkoff called the show cause
       hearing against Plaintiff. As is apparent from the transcript of the
       proceeding, previously attached to Plaintiff’s Complaint as Exhibit C,
       Plaintiff appeared without legal representation and indicated that he had
       not had time to secure representation for the August 10, 2005, hearing.
       Although Plaintiff inartfully asked to have a chance to “set aside” the

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      hearing until his attorney could be present, it was clear that Plaintiff
      requested an adjournment of the show cause hearing given the very short
      notice. However, Judge Dimkoff, relying on the unlawfully furnished CPS
      Report by Defendant Sterling on Defendant Baragar’s behest and behalf,
      summarily held Plaintiff in contempt and remanded Plaintiff into the
      custody of the Newaygo County Sheriff’s Department for confinement. As
      the transcript makes plain, Plaintiff’s confinement in the Newaygo county
      jail was effectuated without any evidentiary hearing to establish the
      underlying allegations. Judge Dimkoff then executed an order for
      contempt prepared by Defendant Sterling on August 10, 2005. (Complaint
      at ¶¶ 32, 64, 67).

      At 10:00 a.m. on August 10, 2005, Judge Dimkoff signed the order
      regarding contempt that had been prepared and submitted for execution
      by Defendant Sterling; the submission and execution of the order
      regarding contempt represented a clear violation of Plaintiff’s due process
      and constitutional rights. (Complaint at ¶¶ 32, 67, 97).

      Based on the foregoing recounting of facts contained in Plaintiff’s
      Complaint, it is reasonable to infer that Judge Dimkoff knew that
      Defendant Sterling’s actions and efforts on behalf of Defendant Baragar,
      actively seeking, in part, Plaintiff’s confinement in county jail, clearly
      contravened Plaintiff’s due process rights (Complaint at ¶100).

      Some time after August 10, 2005, but before the scheduled hearing of
      August 19, 2005, on Plaintiff’s objection to the ex parte order of August 9,
      2005, Defendant Sterling personally made Plaintiff’s minor children
      available to Judge Dimkoff for an in-chamber interview that was not
      recorded. This improper interview, in violation of due process rights, was
      conducted without the consent of Plaintiff, who, technically, was still the
      parent enjoying sole physical custody because the change of custody to
      Defendant Baragar had only been effectuated August 9, 2005, by way of
      an ex parte order subject to an automatic right for objection that Plaintiff
      had timely exercised and scheduled for August 19, 2005. (Complaint at
      ¶¶94, 101, 102, 103, 104.)

      The Complaint also alleges with specificity that on August 11, 2006, in
      direct congruence with the Plaintiff being incarcerated, Defendant Palka
      filed an additional Child Protective Services referral. No such referral was
      made in the previous three months of treatment. (Complaint at ¶82.) The
      referral, contemporaneous with the guerilla removal of the children, is
      more than coincidental and underscores Defendant Palka’s earliest
      instrumentality and participation in the scheme to deprive Plaintiff of his
      custodial rights to Nick and Emily.


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      To further underscore Judge Dimkoff’s action in concert with Defendants
      and in furtherance of Defendants’ common goal of continuing with the
      legal fiction of expanded parenting time and maintaining the status quo as
      to physical custody, derived solely on the basis of Defendant Sterling’s Ex
      Parte Motion of August 9, 2005, and the unlawfully accompanying CPS
      Report (Complaint at ¶119), Judge Dimkoff admitted on the record at the
      August 19, 2005, hearing that he would be dictating a confidential
      memorandum for the potential benefit of the Michigan Court of Appeals,
      summarizing his interview with the minor children (Complaint at ¶¶103-
      104).

      While it is unlikely that the Michigan Court of Appeals would ever
      knowingly act on a trial judge’s on-the-record invitation to violate a private
      citizen’s due process rights, Defendant Sterling’s failure to object in any
      way to Judge Dimkoff’s expressed intention to engage in improper
      communication with the Court of Appeals in the eventuality of an appeal
      by Plaintiff, especially in light of the duty imposed upon Defendant Sterling
      as a Michigan court officer, underscores Defendant Sterling and Judge
      Dimkoff’s concerted action to prevent Plaintiff from gaining back custody
      of his children. Indeed, from Judge Dimkoff’s statement on the record and
      from Defendant Sterling’s tacit approval, it may be reasonably inferred that
      the joint action that began between Judge Dimkoff and Defendants
      Baragar and Sterling on August 9, 2005, would continue. Indeed, Judge
      Dimkoff could not have signaled to Defendant Sterling any more forcefully
      than by stating, in open court, that the extra-statutory way by which the
      circuit court had already pursued undermining Plaintiff’s fundamental child
      custodial rights and interests would continue.

      Moreover, the interview of Nicholas by Judge Dimkoff, facilitated by
      Defendant Sterling and sanctioned by Defendant Baragar as the new
      “custodial” parent, violated Plaintiff’s fundamental liberty interests by
      unwarrantedly placing Nicholas’ health and well-being at risk. This
      allegation may be reasonably inferred from the May 2005 assessment of
      Nick by child and adolescent psychiatrist Dr. Carlos A. Marcano, M.D. Dr.
      Marcano, of Pine Rest (PRCMHS), diagnosed Nick with Axis I Mood
      Disorder, Anxiety Disorder, and Oppositional Defiant Disorder. Nick was
      also found as presenting with symptoms of depression, irritability, and low
      frustration. (Complaint at ¶¶ 23-24). Given the fragility of Nick’s emotional
      condition, Plaintiff’s fundamental and due process rights were implicated
      due to the fact that, as the only custodial parent, any contact with Nick,
      even contact undertaken by a member of Michigan’s state judiciary, could
      be potentially harmful to Nick, especially in light of the fact that J. Dimkoff
      had just recently instituted an essential change of custody, i.e., through an
      order for “expanded parenting” for Defendant Baragar, and Plaintiff had
      just been jailed. It can, therefore, be reasonably inferred that the interview

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      took place during a dramatic and traumatic time for Nick. Plaintiff’s
      consent and input was, thus, vital and fundamentally guaranteed by law
      (Complaint at ¶115).

      In facilitating the interview without the consent and input of Plaintiff,
      Defendants Baragar and Sterling undermined and violated the custodial
      parent’s fundamental right for making decisions relating to his or her
      child’s health and medical needs. By agreeing to interview especially
      Nick, Judge Dimkoff, in concert with Defendants Baragar and Sterling,
      also undermined and violated Plaintiff’s fundamental liberty interests,
      especially whilst knowing that Plaintiff’s earlier ex parte motion of August
      1, 2005, seeking suspension of Defendant’s parenting time, had been
      based on the allegation that Defendant had refused to comply with Pine
      Rest’s medication protocol drawn up for Nick. (Complaint at ¶¶25-26, 115)

      Judge Dimkoff further acted in concert with Defendants when, in
      December 2005, he accepted a letter from Defendant Palka that was
      addressed to the Court. Judge Dimkoff knew that Defendant Palka was
      an integral part of the post-judgment child custody proceeding, having
      been subpoenaed by Plaintiff’s counsel to provide testimony as early as
      November 3, 2005. Significantly, the register of action in the Newaygo
      County Circuit Court proceeding, however, fails to show either an entry
      and/or any other proof of service that a copy of the correspondence was
      ever shared with and distributed to Plaintiff’s trial counsel, Karen M. Boer.
      Further, it was clear that Defendant Palka was not a disinterested party as
      she had refused to turn over to Plaintiff’s state court counsel, Ms. Karen
      M. Boer, the great majority of her records regarding Nick on November 3,
      2005. (Complaint at ¶¶ 83, 88.)

      As aforementioned, the Complaint alleges that Defendant Palka
      deliberately withheld nearly two hundred pages of Pine Rest records on
      November 3, 2005, when the post-judgment trial was supposed to start
      (Complaint at ¶83). As a result of Defendant Palka’s open and deliberate
      refusal to comply with the served subpoena, the November 3, 2005,
      hearing (i.e., the first day of post-judgment evidentiary custody hearing)
      was adjourned but, while resulting in further delay to the post-judgment
      custody proceedings, did not result in any sanctions by J. Dimkoff against
      Defendant Palka (Complaint at ¶37).

      The Complaint also alleges that, at the next scheduled trial date, January
      26, 2006, Defendant Sterling sought and was granted expert fees in the
      amount of $1,600.00 from Judge Dimkoff on behalf of (Defendant
      Baragar’s) witness Defendant Palka for having to appear at the November
      3, 2005, hearing that was adjourned precisely because of her own refusal
      to comply with Plaintiff’s counsel’s issued subpoena! Defendant Palka,

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       despite being present at the January 26, 2006, hearing, accepted the
       sanctions knowing that the adjournment had been the result of her own
       action. (Complaint at ¶¶42, 84.)

       Defendant Palka was also involved in providing a written affidavit that had
       been prepared by Defendant Sterling on Defendant Baragar’s behalf,
       which was to be filed at the March 8, 2006, hearing, without notice to
       Plaintiff (Complaint at ¶¶76, 89).

Conclusion.
       In viewing the Complaint in the light most favorable to Plaintiff, Defendant

Sterling’s motion for judgment on the pleadings must be denied because Plaintiff

has sufficiently alleged state action. As the Court will note below, Plaintiff’s

Complaint is replete with specific facts outlining a significant pattern of concerted

acts by all Defendants and Judge Dimkoff that began on August 9, 2005, and

spanned over one-half year.

       Plaintiff’s pleading also specifically alleges, directly and by the drawing of

reasonable inferences, that Judge Dimkoff was unfairly and unlawfully facilitative

and improperly dismissive of Defendants’ collective and concerted acts of

engaging in ex parte communication with the circuit court. The only purpose of

the off-the-record and ex parte communications with the Court was inarguably to

undermine Plaintiff’s child custody case.

       Next, consistent with Proctor, supra, Plaintiff’s Complaint has, first of all,

identified all state actors involved in the concerted action to deprive him of

fundamentally guaranteed rights. Plaintiff has also specifically alleged what acts

were contrary to state law and violative of due process. Lastly, Plaintiff’s

Complaint is centered on the behaviors of the individual actors, private and state.


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Plaintiff has already separately sought relief for the outcomes or adverse rulings

of Judge Dimkoff by its request for relief from the Michigan Court of Appeals.



C.     Rooker – Feldman Doctrine

Applicable Law.

     In Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280, 287

(2005), the United States Supreme Court recently revisited the Rooker-Feldman

doctrine and reiterated that the doctrine’s scope of application was legislatively

limited and not as expansive as some lower federal courts had previously

perceived. Id. at 283 (“[v]ariously interpreted in the lower courts, the doctrine has

sometimes been construed to extend far beyond the contours of the Rooker and

Feldman cases, overriding Congress' conferral of federal-court jurisdiction

concurrent with jurisdiction exercised by state courts, and superseding the

ordinary application of preclusion law pursuant to 28 USC ß1738”). The Court

then clarified the purposes and scope of the doctrine as follows:


           The Rooker - Feldman doctrine, we hold today, is confined to cases of
           the kind from which the doctrine acquired its name: cases brought by
           state-court losers complaining of injuries caused by state-court
           judgments rendered before the district court proceedings commenced
           and inviting district court review and rejection of those judgments.


Id. at 284. Stated differently, “[t]he Rooker – Feldman doctrine merely

recognizes that 28 USC §1331 is a grant of original jurisdiction, and does not

authorize district courts to exercise appellate jurisdiction over state-court

judgments, which Congress has reserved to this Court, see §1257(a).” Id. at

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292, quoting Verizon Md. Inc. v. Public Serv. Comm’n of Md., 535 U.S. 635, 644

(2002). Parenthetically, it should be noted that Defendant Sterling has partly

relied on the Sixth Circuit’s interpretation of the Rooker – Feldman doctrine in

Gilbert v. Ferry, 401 F.3d 411 (6th Cir. 2005), which, however, the Sixth Circuit

ultimately vacated following the Supreme Court’s decision in Exxon, supra. See

Gilbert v. Ferry, 413 F.3d 578, 579 (6th Cir. 2005).

         In determining whether the federal-plaintiff is improperly seeking appellate

review of state rulings from the federal district court, the Sixth Circuit has

instructed that courts “must pay close attention to the relief sought by the federal-

court plaintiff.” Hood v. Keller, 341 F.3d 593, 597 (6th Cir. 2003). Consistent with

this principle, the Sixth Circuit declined to dismiss a matter under the Rooker-

Feldman doctrine when it was apparent that the case before it was not a custody

case but a §1983 damages claim. See Holloway v. Brush, 220 F.3d 767, 777 (6th

Cir. 2000). The Seventh Circuit’s decision in Loubser v. Thacker, 440 F.3d 439

(7th Cir. 2006) is also instructive, wherein the Court held that the Rooker-Feldman

doctrine does not apply to claims that a “defendant in a civil rights suit ‘so far

succeeded in corrupting the state judicial process as to obtain a favorable

judgment.’” Id. at 441, quoting Nesses v. Shepard, 68 F.3d 1003, 1005 (7th Cir.

1995).

         A case that factually mirrors the present involves the Seventh Circuit’s

opinion in Davit v. Davit, unpublished per curiam decision, issued April 24, 2006

(Slip Copy, 2006 WL 786723) – Attachment 1. Therein, a divorce litigant

brought suit in federal court against his ex-wife, her divorce counsel, and the

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state judges involved in the divorce proceeding. While ultimately affirming the

dismissal on grounds that judicial immunity robbed the matter of federal subject

matter jurisdiction, the Court specifically held that the Rooker – Feldman doctrine

did not bar the action for the reasons stated in Loubser, supra, and Nesses,

supra. Id. at slip op at 2.

Discussion.

       In the case at bar, Plaintiff is not seeking appellate review by this Court of

the state court’s post-judgment child custody rulings; instead, Plaintiff is pursuing

civil damages under 42 USC §1983. Plaintiff is challenging the conduct and acts

of the named Defendants herein along with their concerted action with the state

court judge. In fact, Plaintiff has already challenged various rulings of the trial

court to the Michigan Court of Appeals by way of a delayed application for leave

currently pending before that Court.

       Moreover, those appellate issues, while based in part on the same facts

as form the basis of Plaintiff’s 42 USC §1983 claims, are not the issues before

this Court. A review of Plaintiff’s delayed application for leave to appeal to the

Michigan Court of Appeals reveals that Plaintiff has challenged the state court’s

failure to follow Michigan’s Child Custody Act of 1970, MCL 722.1 et seq. and the

trial court’s erroneous application of Rule 3.207 of the Michigan Court Rules.

Plaintiff has also challenged on appeal to the Michigan Court of Appeals, the trial

court’s various awards of attorney fees, expert costs, and sanctions. By contrast,

Plaintiff’s 42 USC §1983 suit is premised on Defendant’s Baragar and

Defendant’s Sterling submission of a falsified CPS report that formed the basis

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for the issued August 9, 2005, ex parte order, effectively changing custody, as

well as other acts of misconduct by Defendant Sterling in her representative

capacity as Defendant Baragar’s state court counsel. Plaintiff’s 42 USC §1983

action is also premised on the extra-judicial acts of Judge Dimkoff, which were

undertaken, in part, at the request and behest of Defendant Sterling, e.g., the

August 2005 contempt hearing that lacked due process and resulted in Plaintiff’s

confinement in county jail and the various ex parte communications with

Defendants. While the claims herein are necessarily related to the appellate

issues before the Michigan Court of Appeals as they stem from the same drawn

out post-judgment child custody proceeding in state court, they are not

“inextricably intertwined” as contemplated by the Rooker-Feldman doctrine. Last

but not least, it should be remembered that the challenged conduct in this federal

suit, e.g., Plaintiff’s unlawful incarceration in county jail and Plaintiff’s deprivation

of his children’s company and loss of parenting opportunity, cannot be redressed

in state court, see infra.



D.     Younger Abstention Doctrine

Applicable Law.

       As this Court has previously explained, “‘[i]t is axiomatic . . . that

[a]bstention from the exercise of federal jurisdiction is the exception, not the

rule.’” Michigan Bell Telephone Co v. MFS Intelenet of Michigan, Inc., 16

F.Supp.2d 817, 827 (W.D. Mich. 1998), quoting Ankenbrandt v. Richards, 504

U.S. 689, 705 (1992). “Abstention rarely should be invoked, because the federal

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courts have a ‘virtually unflagging obligation ... to exercise the jurisdiction given

them.’” Id., quoting Ankenbrandt, supra at (quoting Colorado River Water

Conservation Dist. v. United States, 424 U.S. 800, 813 (1976). Even more

importantly, the abstention doctrine may not operate in cases where an adequate

state remedy is absent. Id., citing GTE Mobilnet v. Johnson, 111 F.3d 469 (6th

Cir. 1997).

Discussion.

       In the case at bar, Plaintiff seeks civil damages under 42 USC §1983,

rather than a reversal of the trial court’s child custody rulings. The sought relief is

based on allegations of misconduct stemming from out-of-court dealings and

communications, including those that Plaintiff has alleged transpired in the

judge’s chambers as well as outside of the premises of the courthouse. With

respect to Plaintiff’s incarceration, the trial court’s improper in-chamber interview

of the children without Plaintiff’s consent, Plaintiff’s deprivation of the custody of

his children for over nearly one year and counting, and the emotional toll suffered

by Plaintiff and his children, these sufferings cannot be redressed in state court.

       It is further important to note that, under Michigan child custody laws, even

the child custody ruling itself, currently being appealed in state court, may be left

undisturbed by Michigan’s appellate courts irrespective of even acknowledged

egregious conduct of the trial court judge and the herein named Defendants.

The recent unpublished Michigan Court of Appeals decision in Schroer v.

Schroer, unpublished per curiam opinion of the Michigan Court of Appeals,

issued December 6, 2005 (Docket No. 263422) – Attachment 2, effectively

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underscores the absence of adequate relief even with respect to any potential

appellate correction of the inequitable and violative child custody ruling of the

Newaygo County Circuit Court:

              “In determining whether an established custodial environment
              exists, it makes no difference whether that environment was
              created by a court order, without a court order, in violation of a
              court order, or by a court order that was subsequently reversed.
              Hayes v Hayes, 209 Mich. App. 385, 388; 532 N.W.2d 190, 192
              (1995). The principal concern is not “the reasons behind the
              custodial environment, but . . . the existence of such an
              environment.” Treutle v. Treutle, 197 Mich. App. 690, 693; 495
              N.W.2d 836, 838 (1992).


Id. at slip op at 2 (emphases added). In other words, the Michigan Court of

Appeals may find that the post-judgment child custody ruling was the combined

product of clear legal error, factual findings against the great weight of the

evidence, an abuse of discretion relating to the state court’s dispositional ruling,

see generally Beason v. Beason, 435 Mich. 791, 798; 460 N.W.2d 207, 210

(1990), but leave undisturbed Judge Dimkoff’s rulings if Plaintiff’s children

effectively enjoy an exclusive established custodial environment with Defendant

Baragar at the time of its decision.

       Therefore, even though Defendant Sterling’s brief in support of her motion

does not discuss the adequacy or inadequacy of state remedies available to

Plaintiff, Plaintiff submits that the clear lack of such remedies render his pursuit of

the present action proper.




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                                 RELIEF SOUGHT

       For the foregoing reasons, Plaintiff respectfully prays that this honorable

Court deny Defendant Cheryl L. Sterling’s Motion for Judgment on the Pleadings

under Rule 12(b)(6) of the Federal Rules of Civil Procedure and direct her to

defend on the merits.

       Alternatively, Plaintiff respectfully prays that this honorable Court exercise

its sound discretion to hear the claims against Defendant Sterling because she

was clearly inextricably linked to and highly instrumental in the above-described

scheme to deprive and frustrate Plaintiff’s custodial rights to his minor children.

See 28 USC 1367(a) (the district court employs sound discretion in exercising

supplemental jurisdiction over state claims “that are so related to claims in the

action within such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution”).


                                          Respectfully Submitted,



Dated: July 11, 2006
                                   ________________/s/_________________
                                        Roger W. Boer (P10926)
                                        Attorney for Plaintiff


Dated: July 11, 2006
                                   _______________/s/__________________
                                        Mark F. Haslem (P45432)
                                        Co-counsel for Plaintiff




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Dated: July 11, 2006
                              _______________/s/__________________
                                   Mikhail Albuseiri (P56529)
                                   Co-counsel for Plaintiff


Dated: July 11, 2006
                              _______________/s/__________________
                                   Karen M. Boer (P51276)
                                   Co-counsel for Plaintiff




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